                   CASE 0:21-cr-00108-PAM-TNL Doc. 229 Filed 01/26/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MINNESOTA

                           IN-PERSON JURY CRIMINAL TRIAL
United States of America,                       )                   COURT MINUTES
                                                )    BEFORE:             Paul A. Magnuson
                        Plaintiff,              )                        United States District Judge
                                                )
 v.                                             )    Case No:           21-CR-108(2) (3) (4) (PAM/TNL)
                                                )    Date:              Wednesday, January 26, 2022
Tou Thao (2),                                   )    Courthouse:        Saint Paul
J Alexander Kueng, (3),                         )    Courtroom:         7D
Thomas Kiernan Lane (4),                        )    Deputy:            Lynn L. Magee
                                                )    Court Reporter:    Renee Rogge
                        Defendants.             )    Time Commenced:    9:25 a.m.
                                                )    Time Concluded:    4:15 p.m.
                                                )    Time in Court:     5 Hours 25 Minutes
APPEARANCES:
      Plaintiff:       LeeAnn Bell, Samantha Trepel, Manda Sertich, Allen Slaughter

      Defendants:      Robert Paule, Natalie Paule – Thao (2)
                       Thomas Plunkett – Kueng (3)
                       Earl Gray – Lane (4)

PROCEEDINGS:
        Trial Discussions with Counsel (9:25 a.m. – 9:30 a.m.)
        Witness Testimony (Derek Smith, Paramedic Hennepin EMS) (9:35 a.m. – 10:05 a.m.)
        Cross-Examination of Witness by Earl Gray (10:05 a.m. – 10:35 a.m.)
        Cross-Examination of Witness by Robert Paule (10:35 a.m. – 11:15 a.m.)
        Cross-Examination of Witness by Thomas Plunkett (11:15 a.m. – 11:20 a.m.)
        Re-Direct Examination of Witness (11:20 a.m. – 11:35 a.m.)
        Re-Cross Examination of Witness and Witness Excused (11:35 a.m. – 11:40 a.m.)
        Witness Testimony (Jeremy Norton, Captain – MFD) (11:40 a.m. – 12:00 p.m.)
        Break (12:00 p.m. – 1:25 p.m.)
        Trial Discussions with Counsel (1:25 p.m. – 1:30 p.m.)
        Witness Testimony Continues (1:35 p.m. – 2:05 p.m.)
        Cross-Examination of Witness by Earl Gray (2:05 p.m. – 2:10 p.m.)
        Cross-Examination of Witness by Robert Paule (2:10 p.m. – 2:20 p.m.)
        Cross-Examination of Witness by Thomas Plunkett and Witness Excused (2:20 p.m. – 2:25 p.m.)
        Witness Testimony (Genevieve Hansen, Off-Duty MFD Firefighter) (2:30 p.m. – 3:25 p.m.)
        Break (3:25 p.m. – 3:40 p.m.)
        Cross-Examination of Witness by Earl Gray (3:40 p.m. – 3:45 p.m.)
        Cross-Examination of Witness by Thomas Plunkett (3:45 p.m. – 3:50 p.m.)
        Cross-Examination of Witness by Robert Paule (3:50 – 3:55 p.m.)
        Re-Direct Examination of Witness and Witness Excused (3:55 – 4:00 p.m.)
               CASE 0:21-cr-00108-PAM-TNL Doc. 229 Filed 01/26/22 Page 2 of 2




        Re-Cross Examination of Witness by Thomas Plunkett (4:00 p.m. – 4:05 p.m.)
        Jury Dismissed (4:05 p.m.)
        Trial Discussions With Counsel (4:05 p.m. – 4:15 p.m.)

        Jury Trial will continue on Thursday, January 27, 2022, at 9:30 a.m., in Courtroom 7D, Saint Paul
        Courthouse.

Date:   Wednesday, January 26, 2022                                      s/Lynn L. Magee
                                                                         Courtroom Deputy to
                                                                         The Hon. Paul A. Magnuson
